     Case 5:20-cv-01749-DMG-SP Document 1 Filed 08/28/20 Page 1 of 9 Page ID #:1


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 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     JAMES RUTHERFORD, an
12                                            Complaint For Damages And
13   individual,                              Injunctive Relief For:

14                     Plaintiff,              1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     FOOTHILL PLAZA SHOPPING
                                                  325).
18   CENTER, LLC, a California limited
     liability company; and DOES 1-10,
19                                             2. VIOLATIONS OF THE UNRUH
     inclusive,
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                                                CIVIL CODE § 51 et seq.
21
                      Defendants.

22

23         Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
24   Defendant FOOTHILL PLAZA SHOPPING CENTER, LLC, a California limited
25   liability company; and Does 1-10 (“Defendants”) and alleges as follows:
26                                          PARTIES
27         1.      Plaintiff is substantially limited in performing one or more major life
28   activities, including but not limited to: walking, standing, ambulating, sitting; in

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                                           COMPLAINT
     Case 5:20-cv-01749-DMG-SP Document 1 Filed 08/28/20 Page 2 of 9 Page ID #:2


 1   addition to twisting, turning and grasping objects. As a result of these disabilities,
 2   Plaintiff relies upon mobility devices, including at times a wheelchair, to ambulate.
 3   With such disabilities, Plaintiff qualifies as a member of a protected class under the
 4   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 5   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 6   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 7   Plaintiff’s visits to Defendants' facility and prior to instituting this action, Plaintiff
 8   suffered from a “qualified disability” under the ADA, including those set forth in
 9   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
10          2.     Plaintiff is informed and believes and thereon alleges that Defendant
11   FOOTHILL PLAZA SHOPPING CENTER, LLC, a California limited liability
12   company, owned the property located at 967 W Foothill Blvd., Upland, CA 91786
13   (“Property”) on or around July 13, 2020.
14          3.     Plaintiff is informed and believes and thereon alleges that Defendant
15   FOOTHILL PLAZA SHOPPING CENTER, LLC, a California limited liability
16   company, owns the Property currently.
17          4.     Plaintiff does not know the true name of Defendant, its business
18   capacity, its ownership connection to the Property serving Sushi Shiro (“Business”),
19   or its relative responsibilities in causing the access violations herein complained of.
20   Plaintiff is informed and believes that each of the Defendants herein, including Does
21   1 through 10, inclusive, is responsible in some capacity for the events herein alleged,
22   or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
23   amend when the true names, capacities, connections, and responsibilities of the
24   Defendants and Does 1 through 10, inclusive, are ascertained.
25                               JURISDICTION AND VENUE
26          5.     This Court has subject matter jurisdiction over this action pursuant
27   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
28          6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
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                                             COMPLAINT
     Case 5:20-cv-01749-DMG-SP Document 1 Filed 08/28/20 Page 3 of 9 Page ID #:3


 1   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
 2   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 3   federal ADA claims in that they have the same nucleus of operative facts and
 4   arising out of the same transactions, they form part of the same case or controversy
 5   under Article III of the United States Constitution.
 6          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 7   real property which is the subject of this action is located in this district and because
 8   Plaintiff's causes of action arose in this district.
 9                                FACTUAL ALLEGATIONS
10          8.     Plaintiff went to the Business on or about July 13, 2020 for the dual
11   purpose of browsing the menu and to confirm that this public place of
12   accommodation is accessible to persons with disabilities within the meaning federal
13   and state law.
14          9.     The Business is a facility open to the public, a place of public
15   accommodation, and a business establishment.
16          10.    Parking spaces are one of the facilities, privileges, and advantages
17   reserved by Defendants to persons at the Property serving the Business.
18          11.    Unfortunately, although parking spaces were one of the facilities
19   reserved for patrons, there were no designated parking spaces available for persons
20   with disabilities that complied with the 2010 Americans with Disabilities Act
21   Accessibility Guidelines (“ADAAG”) on July 13, 2020.
22          12.    At that time, instead of having architectural barrier free facilities for
23   patrons with disabilities, Defendants have: no ADASAD compliant van accessible
24   parking signage in violation of Section 502.6; an accessible parking space access
25   aisle or walkway to the main entrance that has a slope exceeding 5% (where 502.4
26   prohibits slopes excessive of 1:48 and 403.3 prohibits a slope exceeding 5%); an
27   access aisle at the accessible parking space is ramped up to connect the walkway to
28   the street level creating slopes and cross slopes excessive of 1:48 (Access aisles shall
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                                             COMPLAINT
     Case 5:20-cv-01749-DMG-SP Document 1 Filed 08/28/20 Page 4 of 9 Page ID #:4


 1   be at the same level as the parking spaces they serve. Changes in level are not
 2   permitted. EXCEPTION: Slopes not steeper than 1:48 shall be permitted per Section
 3   502.4); a curb ramp that projects into the accessible parking space access aisle in
 4   violation of Section 406.5 (which requires that curb ramps and the flared sides of
 5   curb ramps shall be located so that they do not project into vehicular traffic lanes,
 6   parking spaces, or parking access aisles); the slope of the curb ramp that flares at the
 7   curb ramp connecting the accessible parking spaces to the accessible route appears
 8   to exceed 10% in violation of Section 406.3 (which requires that the slope does not
 9   exceed 10%); a noncompliant cross slope (Cross slope of ramp runs shall not be
10   steeper than 1:48 per 405.3); and, no accessible routes connecting the parking to the
11   main entrance or elements within the facility as required by Section 206.2.2 (which
12   requires that at least one accessible route shall connect accessible buildings,
13   accessible facilities, accessible elements, and accessible spaces that are on the same
14   site, and 206.1 requiring access to the site arrival point (main entrance) from the
15   public street).
16          13.    Subject to the reservation of rights to assert further violations of law
17   after a site inspection found infra, Plaintiff asserts there are additional ADA
18   violations which affect him personally.
19          14.    Plaintiff is informed and believes and thereon alleges Defendants had
20   no policy or plan in place to make sure that there was compliant accessible parking
21   reserved for persons with disabilities prior to July 13, 2020.
22          15.    Plaintiff is informed and believes and thereon alleges Defendants have
23   no policy or plan in place to make sure that the designated disabled parking for
24   persons with disabilities comport with the ADAAG.
25          16.    Plaintiff personally encountered these barriers. The presence of these
26   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
27   conditions at public place of accommodation and invades legally cognizable
28   interests created under the ADA.
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                                            COMPLAINT
     Case 5:20-cv-01749-DMG-SP Document 1 Filed 08/28/20 Page 5 of 9 Page ID #:5


 1          17.      The conditions identified supra in paragraph 12 are necessarily related
 2   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
 3   the major life activities of walking, standing, ambulating, sitting, in addition to
 4   twisting, turning and grasping objects; Plaintiff is the holder of a disabled parking
 5   placard; and because the enumerated conditions relate to the use of the accessible
 6   parking, relate to the slope and condition of the accessible parking and accessible
 7   route to the accessible entrance, and, relate to the proximity of the accessible parking
 8   to the accessible entrance.
 9          18.      As an individual with a mobility disability who at times relies upon a
10   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
11   accommodations have architectural barriers that impede full accessibility to those
12   accommodations by individuals with mobility impairments.
13          19.      Plaintiff is being deterred from patronizing the Business and its
14   accommodations on particular occasions, but intends to return to the Business for the
15   dual purpose of availing himself of the goods and services offered to the public and
16   to ensure that the Business ceases evading its responsibilities under federal and state
17   law.
18          20.      Upon being informed that the public place of accommodation has
19   become fully and equally accessible, he will return within 45 days as a “tester” for
20   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
21   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
22          21.      As a result of his difficulty experienced because of the inaccessible
23   condition of the facilities of the Business, Plaintiff was denied full and equal access
24   to the Business and Property.
25          22.      The Defendants have failed to maintain in working and useable
26   conditions those features required to provide ready access to persons with
27   disabilities.
28          23.      The U.S. Department of Justice has emphasized the importance of
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                                             COMPLAINT
     Case 5:20-cv-01749-DMG-SP Document 1 Filed 08/28/20 Page 6 of 9 Page ID #:6


 1   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
 2   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
 3   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
 4   Coronavirus Disease 2019 (COVID-19) found at
 5   https://www.ada.gov/aag_covid_statement.pdf.
 6         24.    The violations identified above are easily removed without much
 7   difficulty or expense. They are the types of barriers identified by the Department of
 8   Justice as presumably readily achievable to remove and, in fact, these barriers are
 9   readily achievable to remove. Moreover, there are numerous alternative
10   accommodations that could be made to provide a greater level of access if complete
11   removal were not achievable.
12         25.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
13   alleges, on information and belief, that there are other violations and barriers in the
14   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
15   notice regarding the scope of this lawsuit, once he conducts a site inspection.
16   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
17   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
18   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
19   have all barriers that relate to his disability removed regardless of whether he
20   personally encountered them).
21         26.    Without injunctive relief, Plaintiff will continue to be unable to fully
22   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
23                               FIRST CAUSE OF ACTION
24   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
25     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
26                                        (P.L. 110-325)
27         27.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
28   above and each and every other paragraph in this Complaint necessary or helpful to
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                                            COMPLAINT
     Case 5:20-cv-01749-DMG-SP Document 1 Filed 08/28/20 Page 7 of 9 Page ID #:7


 1   state this cause of action as though fully set forth herein.
 2         28.    Under the ADA, it is an act of discrimination to fail to ensure that the
 3   privileges, advantages, accommodations, facilities, goods, and services of any place
 4   of public accommodation are offered on a full and equal basis by anyone who owns,
 5   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
 6   Discrimination is defined, inter alia, as follows:
 7                a.     A failure to make reasonable modifications in policies, practices,
 8                       or procedures, when such modifications are necessary to afford
 9                       goods, services, facilities, privileges, advantages, or
10                       accommodations to individuals with disabilities, unless the
11                       accommodation would work a fundamental alteration of those
12                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
13                b.     A failure to remove architectural barriers where such removal is
14                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
15                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
16                       Appendix "D".
17                c.     A failure to make alterations in such a manner that, to the
18                       maximum extent feasible, the altered portions of the facility are
19                       readily accessible to and usable by individuals with disabilities,
20                       including individuals who use wheelchairs, or to ensure that, to
21                       the maximum extent feasible, the path of travel to the altered area
22                       and the bathrooms, telephones, and drinking fountains serving
23                       the area, are readily accessible to and usable by individuals with
24                       disabilities. 42 U.S.C. § 12183(a)(2).
25         29.    Any business that provides parking spaces must provide accessible
26   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
27   shall be at the same level as the parking spaces they serve. Changes in level are not
28   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
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                                            COMPLAINT
     Case 5:20-cv-01749-DMG-SP Document 1 Filed 08/28/20 Page 8 of 9 Page ID #:8


 1   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
 2   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
 3   designated disabled parking space is a violation of the law and excess slope angle in
 4   the access pathway is a violation of the law.
 5         30.       A public accommodation must maintain in operable working condition
 6   those features of its facilities and equipment that are required to be readily accessible
 7   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 8         31.       Here, the failure to ensure that accessible facilities were available and
 9   ready to be used by Plaintiff is a violation of law.
10         32.       Given its location and options, Plaintiff will continue to desire to
11   patronize the Business but he has been and will continue to be discriminated against
12   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
13   the barriers.
14                                SECOND CAUSE OF ACTION
15       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
16         33.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
17   above and each and every other paragraph in this Complaint necessary or helpful to
18   state this cause of action as though fully set forth herein.
19         34.       California Civil Code § 51 et seq. guarantees equal access for people
20   with disabilities to the accommodations, advantages, facilities, privileges, and
21   services of all business establishments of any kind whatsoever. Defendants are
22   systematically violating the UCRA, Civil Code § 51 et seq.
23         35.       Because Defendants violate Plaintiff’s rights under the ADA,
24   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
25   52(a).) These violations are ongoing.
26         36.       Plaintiff is informed and believes and thereon alleges that Defendants’
27   actions constitute discrimination against Plaintiff on the basis of a disability, in
28   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
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                                              COMPLAINT
     Case 5:20-cv-01749-DMG-SP Document 1 Filed 08/28/20 Page 9 of 9 Page ID #:9


 1   previously put on actual or constructive notice that the Business is inaccessible to
 2   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
 3   inaccessible form, and Defendants have failed to take actions to correct these
 4   barriers.
 5                                         PRAYER
 6   WHEREFORE, Plaintiff prays that this court award damages provide relief as
 7   follows:
 8         1.     A preliminary and permanent injunction enjoining Defendants from
 9   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
10   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
11   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
12   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
13   under the Disabled Persons Act (Cal. C.C. §54) at all.
14         2.     An award of actual damages and statutory damages of not less than
15   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
16         3.     An additional award of $4,000.00 as deterrence damages for each
17   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
18   LEXIS 150740 (USDC Cal, E.D. 2016); and,
19         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
20   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
21                               DEMAND FOR JURY TRIAL
22         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
23   raised in this Complaint.
24

25   Dated: August 27, 2020                  MANNING LAW, APC
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27                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
28                                       Attorney for Plaintiff
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                                           COMPLAINT
